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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

 In re: William Erickson                                        Case No. 3:19-bk-14191
        Debtor                                                  Chapter 7

    MOTION TO EXTEND TIME TO FILE REAFFIRMATION AGREEMENT

        Comes the debtor, William Erickson, by and through his attorney, Crawley Law

 Firm, PA, and for his Motion to Extend Deadline for Discharge, states:

        1. Debtor filed his petition for protection under Chapter 7 of the bankruptcy code

 on or about August 12, 2019.

        2. According to the Court’s order, the deadline to file an objection to discharge is

 January 11, 2020.

        3. The Debtor and Specialized Loan Servicing are still in the process of finalizing

 the reaffirmation agreement for the mortgage on his home.

        4. Pursuant to Bankruptcy Rule 4008(a) the debtor is specifically requesting that

 he have an additional sixty (60) days from the date the order is filed, to file a

 reaffirmation agreement.

        WHEREFORE, the debtor prays for an order allowing him an additional sixty

 (60) days to file a reaffirmation agreement.

                                                Respectfully Submitted,
                                                Crawley Law Firm, PA
                                                2702 S. Culberhouse, Suite N
                                                Jonesboro, AR 72401
                                                (870)972-1150

                                                /s/Michael E. Crawley, Jr.
                                                Michael E. Crawley, Jr.
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                             CERTIFICATE OF SERVICE

         I, the undersigned attorney, do hereby certify that I have served a copy of the
 foregoing pleading on all the opposing parties to this action by mailing a copy thereof to
 the following on this 10th day of January 2020.

 Lance Owens
 Ch. 7 Panel Trustee
 100 E. Matthews Ave.
 PO Box 121
 Jonesboro, AR 72401




                                            /s/Michael E. Crawley, Jr.
                                            Michael E. Crawley, Jr.
